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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

                  GOVERNMENT’S OPPOSITION TO DONALD J. TRUMP’S
                     AND WALTINE NAUTA’S HEARING REQUESTS

          On February 22, 2024, defendant Donald. J. Trump filed seven pretrial motions and

   defendant Waltine Nauta filed five. In connection with those motions, Trump (ECF No. 328) and

   Nauta (ECF No. 359) separately filed requests for evidentiary hearings on ten of their motions.

   They request hearings on five of the motions filed by Trump and on all five motions filed by Nauta.

   For the reasons given below, no evidentiary hearing is warranted on any of Trump’s or Nauta’s

   motions, though the Government defers to the Court’s determination on whether to hold a hearing

   for legal argument.1




          1
            Defendant Carlos De Oliveira filed one pretrial motion (ECF No. 323) and he “requests
   a hearing on this motion but does not anticipate the need for any witness testimony.” ECF No. 323
   at 1.
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   I.     Trump’s Motions

          A.      Motion to Dismiss Based on Presidential Immunity

          No evidentiary hearing is appropriate on Trump’s motion to dismiss based on Presidential

   Immunity (ECF No. 324). Trump claims (ECF No. 328 at 2) that “factfinding” and “witness

   testimony” is needed to ascertain whether he, while still President, designated certain documents

   as “personal” under the Presidential Records Act (“PRA”). But as explained in the Government’s

   response, even if that factual assertion were true, it would lend no support to an immunity claim

   based on the criminal charges in this case. See ECF No. 376 at 5-6. Moreover, Trump’s sole

   authority for his contention that he is entitled to an evidentiary hearing is a civil immunity case,

   see ECF No. 328 at 2-3 (citing Blassingame v. Trump, 87 F.4th 1 (D.C. Cir. 2023)), but there is no

   analogous mechanism in criminal cases by which to conduct the type of pretrial evidentiary

   hearing that Trump seeks. See ECF No. 376 at 23 n.12 (noting “[t]here is no summary judgment

   procedure in criminal cases,” and the rules do not “provide for a pre-trial determination of

   sufficiency of the evidence”) (citing United States v. Critzer, 951 F.2d 306, 307 (11th Cir. 1992)).

          B.      Motion to Dismiss Based on Selective and Vindictive Prosecution

          The Government has set forth in detail (ECF No. 337 at 3-6) the requirements for discovery

   or a hearing on a motion for selective or vindictive prosecution. Trump must meet a rigorous

   standard that requires credible evidence in support of each essential element of those claims. As

   explained in the Government’s response to Trump’s motion to dismiss based on selective and

   vindictive prosecution (ECF No. 375) and the Government’s surreply in opposition to the

   defendants’ motion to compel discovery (ECF No. 337), Trump fails to satisfy those requirements.

   A hearing on that motion is unwarranted and should be denied.




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            C.     Motion to Dismiss Count 19

            Trump seeks a hearing on one narrow component of his motion to dismiss on vagueness

   grounds—his claim that Count 19 should be dismissed because he possessed a Q clearance. As

   explained in the Government’s opposition to Trump’s motion to dismiss Count 19 (ECF No. 377

   at 24-25), Trump’s conduct as alleged in the Superseding Indictment falls within the ambit of 18

   U.S.C. § 793(e) regardless of whether Trump may have held a Q clearance throughout the period

   alleged in the Superseding Indictment. Any factual defense Trump may hope to present related to

   that Q clearance will have to be decided by a jury at trial and not through a pretrial dismissal

   motion. See, e.g., United States v. Salman, 378 F.3d 1266, 1268 (11th Cir. 2004); Critzer, 951 F.2d

   at 307. A hearing is unwarranted.

            D.     Motion to Dismiss Based on Alleged Prosecutorial Misconduct

            Trump has filed a motion for dismissal of the Superseding Indictment or suppression of

   evidence based on prosecutorial misconduct. Trump alleges three types of misconduct—bad-faith

   collusion between civil and criminal authorities, pre-indictment delay, and abuse of the grand

   jury—and he contends that a hearing is warranted on each of the three. That contention lacks

   merit.

                   1.      Bad-Faith Collusion

            Trump must satisfy a substantial threshold requirement to receive a hearing on his claim of

   bad-faith collusion between civil and criminal authorities. To sustain that claim, Trump must

   establish that civil and criminal investigative authorities “collude[d] in bad faith to deprive [him]

   of his constitutional rights.” United States v. Goldstein, 989 F.3d 1178, 1202 (11th Cir. 2021).

   Such “bad faith collusion generally involves ‘affirmative misrepresentations’ or ‘trickery or deceit’

   by the investigating authority to get the defendant to voluntarily turn over documentary or physical



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   evidence relevant to the criminal investigation.” Id. (quoting United States v. Stringer, 535 F.3d

   929, 940 (9th Cir. 2008)). In the Second Circuit, a defendant seeking a hearing on a claim of bad-

   faith collusion between civil and criminal authorities must “‘make a substantial preliminary

   showing of bad faith.’” United States v. Rhodes, No. 18-CR-887, 2019 WL 3162221, at *4

   (S.D.N.Y. July 16, 2019) (quoting United States v. Gel Spice Co., 773 F.2d 427, 434 (2d Cir. 1985)).

   The Eleventh Circuit has not addressed the requirements to obtain a hearing on a claim of bad-

   faith collusion between civil and criminal authorities, but in other circumstances in which a

   defendant must establish bad faith by government officials, the court of appeals requires

   defendants to make a “substantial threshold showing” before obtaining a hearing. See, e.g., United

   States v. Davis, 759 F. App’x 810, 815 (11th Cir. 2018) (claim of improper refusal to file a motion

   for a reduction of sentence under Federal Rule of Criminal Procedure 35(b)); see also Wade v.

   United States, 504 U.S. 181, 186 (1992) (“[A] defendant has no right to discovery or an evidentiary

   hearing” on a claim that the failure to file a substantial-assistance motion was based on an improper

   motive, “unless he makes a substantial threshold showing.”) (quotation marks omitted).             A

   standard that requires a substantial threshold showing is further supported by United States v.

   Clarke, 573 U.S. 248 (2014). In that civil tax case, the Supreme Court held that “bare assertion or

   conjecture is not enough” to obtain fact-finding on a claim that an Internal Revenue Service

   summons was issued for an improper purpose; rather the party challenging the summons must

   “point to specific facts or circumstances plausibly raising an inference of bad faith” and “must

   offer some credible evidence supporting his charge.” Id. at 254.

          Whatever formulation is used, Trump fails to make a sufficient threshold showing of bad-

   faith collusion that would justify a hearing. As explained in detail in the Government’s substantive

   response, Trump’s reliance on a single, mischaracterized sentence in an email did not raise a



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   plausible inference of misconduct, even had his characterization not been refuted. But even

   assuming the facts and inferences urged by Trump, his motion fails on legal grounds. He points

   to no facts or circumstances that plausibly raise an inference of bad faith and therefore falls well

   short of the substantial showing required to obtain an evidentiary hearing.

                  2.      Pre-Indictment Delay

          Relying on United States v. Horton, 270 F. App’x 783 (11th Cir. 2008), Trump seeks (ECF

   No. 328 at 2-3) additional discovery and an evidentiary hearing on his due process pre-indictment

   delay claim. That reliance is misplaced, and no additional discovery or an evidentiary hearing is

   warranted where, as here, the “Court is capable of putting together its own timeline” based on the

   parties’ pleadings. United States v. Holland, No. 17-cr-234, 2018 WL 8838858, at *10 (N.D. Ga.

   July 27, 2018). In any event, Horton did not involve any additional discovery, and the only hearing

   referred to was the defendant’s hearing on his motion to dismiss, not a distinct evidentiary hearing

   on his claim of pre-indictment delay. See 270 F. App’x at 785.

                  3.      Grand Jury Abuse

          Trump seeks an evidentiary hearing (ECF No. 328 at 3) on two of his grand-jury abuse

   claims: the alleged improper use of a grand jury in the District of Columbia and an alleged

   improper grand-jury subpoena to NARA in 2023. Trump does not identify what facts he would

   seek to develop at a hearing or why those facts would be relevant to his claims. As explained in

   the Government’s response, Trump identifies no shortcoming in the presentation to the grand jury

   in this District, and even taking as true his inaccurate factual assertions about events in the District

   of Columbia, he entirely fails to explain (as the law requires) how those events caused him

   prejudice. No evidentiary hearing is appropriate.




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          E.      Motion to Suppress Evidence and Dismiss Indictment

          Trump has filed a motion to suppress evidence seized during the execution of the search

   warrant at Mar-a-Lago on August 8, 2022. In the same motion, he seeks to exclude evidence

   obtained through the crime-fraud exception to the attorney-client and work-product privileges or,

   alternatively, dismissal of the indictment based on the Government’s receipt of that crime-fraud

   evidence. Trump seeks a hearing on three discrete components of that motion.

                  1.      Franks

          Trump seeks suppression under Franks v. Delaware, 438 U.S. 154 (1978), based on

   allegations that the affidavit submitted in support of the warrant to search Mar-a-Lago contains

   intentionally or recklessly misleading omissions. The Government has set forth in detail in its

   response to Trump’s motion the demanding standard a defendant must satisfy to obtain a Franks

   hearing. And as explained in the Government’s response, Trump falls well short of meeting those

   requirements. He has not made a substantial preliminary showing that the affiant intentionally or

   recklessly omitted information from the warrant in order to mislead the magistrate. Nor does he

   show that inclusion of the omitted information would have defeated probable cause. Trump is not

   entitled to a Franks hearing.

                  2.      Good Faith

          In his motion, Trump argues that evidence obtained through execution of the warrant to

   search Mar-a-Lago should be suppressed because the warrant failed to meet the Fourth

   Amendment’s particularity requirements, and he contends that a hearing is necessary to determine

   whether the good-faith exception to the exclusionary rule applies. Trump suggests (ECF No. 328

   at 3-4) that a hearing is needed because application of the good-faith exception will depend on

   evidence about the manner in which agents executed the warrant and the subjective motives of the



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   agents who executed the search and other government officials. But the good-faith exception

   applies when reliance on the warrant is objectively reasonable. And when the claimed deficiency

   is inadequate particularity in the warrant, application of the good-faith exception depends on

   whether the warrant is so facially deficient that no reasonable officer could presume it to be valid.

   See, e.g., United States v. McCall, 84 F.4th 1317, 1328 (11th Cir. 2023). To apply that objective

   standard and evaluate the adequacy of the warrant on its face, no evidentiary hearing is needed or

   appropriate. Trump’s request for an evidentiary hearing should be denied.

                  3.      Crime-Fraud Litigation

          In his motion, Trump contends in passing that dismissal of the Superseding Indictment is

   warranted because the Government engaged in prejudicial misconduct by obtaining evidence that

   he claims is privileged through crime-fraud litigation in the District of Columbia. Trump is not

   entitled to an evidentiary hearing on his dismissal request. Even a “deliberate” violation of the

   attorney-client relationship that contravenes the Sixth Amendment does not typically warrant

   dismissal of an indictment. United States v. Morrison, 449 U.S. 361, 365-66 (1981); see United

   States v. Rogers, 751 F.2d 1074, 1078 (9th Cir. 1985) (“When the action of Government agents

   involves a violation of the defendant’s constitutional rights and yet does not require dismissal of

   the indictment, it would follow, a fortiori, that merely inducing a witness to violate an ethical

   obligation of confidentiality to a client would not require the dismissal of the indictment.”). And

   Trump provides no support for his contention that prosecutors engage in prejudicial misconduct

   that warrants dismissal of an indictment by filing a motion to compel evidence before a grand jury

   under the crime-fraud exception and then obtaining the evidence pursuant to a court order.




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   II.    Nauta’s Motions

          Nauta argues that evidentiary hearings for each of his pretrial motions are warranted

   because he has “allege[d] facts that, if true, would entitle him to relief.” ECF No. 359 at 2 (citing

   United States v. Yadigarov, 840 F. App’x 487, 490 (11th Cir. 2021)). That argument misstates the

   standard and, in any event, lacks merit. In Yadirgarov, the Eleventh Circuit considered whether

   the district court erred by denying relief and an evidentiary hearing to a criminal defendant seeking

   to assert an ineffective assistance of counsel claim through a petition for a writ of error coram

   nobis. 840 F. App’x at 491. In addressing the propriety of an evidentiary hearing in that context,

   the court of appeals set out the standard that Nauta quotes, but also made clear that a district court

   “is not required to hold an evidentiary hearing where the petitioner’s allegations are ‘affirmatively

   contradicted by the record, or the claims are patently frivolous.’” Id. at 490 (citing Aron v. United

   States, 291 F.3d 708, 715 (11th Cir. 2002)). Thus, even if the standard for an evidentiary hearing

   on a coram nobis petition applied here—and Nauta provides no authority to support that

   contention—he would not be entitled to such a hearing on any of his pretrial motions. Indeed,

   rather than explain why he needs an evidentiary hearing for each pretrial motion, Nauta largely

   restates the discovery requests that he (and other defendants) made in their motions to compel.

          A.      Motion for a Bill of Particulars

          In his motion for a bill of particulars, Nauta seeks additional information and evidence to

   support the allegations in the Superseding Indictment. But he nowhere describes why he needs an

   evidentiary hearing to support that request. Nor does he identify any case or other authority for

   the proposition that such a hearing would be appropriate, let alone necessary.




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          B.      Motion to Dismiss Based on Vagueness

          Nauta’s sole basis for seeking an evidentiary hearing in support of his vagueness claim—

   which contends that the extensive allegations in the Superseding Indictment failed to provide him

   with fair notice that he is charged with acting “corruptly” for purposes of three subsections of 18

   U.S.C. § 1512—is that Trump may have had a security clearance. Nauta does not explain in any

   manner how these two things are related. That is because they are not. Moreover, as noted above,

   whatever merit such a claim regarding when Trump’s Q clearance expired may have for Trump, it

   would be relevant only to his factual defense at trial and provides no basis for dismissal or a pretrial

   evidentiary hearing. And whatever factual defense Trump may wish to present at trial regarding a

   charge under Section 793(e), it would have no bearing on the obstruction counts under Section

   1512 with which Nauta is charged.

          C.      Motion to Dismiss for Selective and Vindictive Prosecution

          As noted above and elsewhere, see ECF No. 337 at 3-6, the showing required to establish

   selective or vindictive prosecution, as well as for discovery or an evidentiary hearing on such a

   claim, is demanding. And as explained in the Government’s response to Nauta’s selective and

   vindictive prosecution motion (filed by email today), Nauta comes nowhere close to satisfying it.

   No evidentiary hearing is therefore warranted.

          D.      Motion to Dismiss for Failure to State an Offense

          With respect to his motion to dismiss for failure to state an offense, Nauta offers (ECF No.

   359 at 6) only the vague supposition that certain information about claimed improper coordination

   between NARA and prosecutors that the defendants have requested in their motions to compel

   “will likely impact” his “ability to prepare his defense.” But Nauta fails to explain why such

   information bears any relevance to the legal claim in his dismissal motion that the Superseding



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   Indictment’s allegations are insufficient to state the offenses with which he is charged—a claim

   that is limited solely to the face of the Superseding Indictment. See Critzer, 951 F.2d at 307.

          E.       Motion to Suppress

          Finally, Nauta seeks suppression and an evidentiary hearing under Franks v. Delaware,

   supra. But as explained in the Government’s response to Nauta’s suppression motion (ECF No.

   381), Nauta must satisfy a demanding standard to obtain a Franks hearing, and he falls well short

   of the mark. He makes neither a substantial preliminary showing that the affiant intentionally or

   recklessly omitted information from the warrant in order to mislead the magistrate nor that

   inclusion of the omitted information would have defeated probable cause. The Court should deny

   his request for an evidentiary hearing.

                                                 Respectfully submitted,

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   March 7, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 7, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.

                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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